                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

LYNNE HAMMER and                )
JAMES YARBROUGH,                )
                                )
     Plaintiff,                 )
                                )
v.                              )                   Civil Action No.: 3:16-CV-634
                                )
PUBLIX SUPER MARKETS, INC., and )
STANLEY BLACK & DECKER, INC. )
                                )
     Defendants.                )

    STATEMENT OF UNDISPUTED FACTS PURSUANT TO LOCAL RULE 56.01

        1.      Stanley Access Technologies (a non-party) is a Delaware Limited Liability

corporation created in January, 2006.

        RESPONSE:



        2.      Defendant Stanley Black & Decker, Inc. is a separate and distinct legal entity

from Stanley Access Technologies, LLC.

        RESPONSE:



        3.      Defendant Stanley Black & Decker, Inc did not design, manufacture, produce,

install or sell the automatic doors that are alleged to have injured plaintiff.

        RESPONSE:




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        4.      Defendant Stanley Black & Decker, Inc did not have any contract or agreement

with Publix Super Markets, Inc. or any other person or entity to maintain the doors that are

alleged to have injured plaintiff.

        RESPONSE:



        5,      Defendant Stanley Black & Decker, Inc had no duty to maintain the doors on,

before or after the date of plaintiff’s injury.

        RESPONSE:



        6.      Installation of the doors in question was completed in November, 2006 by Crain

Enterprises, Inc.

        RESPONSE:



        7.      Stanley Access Technologies, LLC performed maintenance and repair work on the

doors after the date of installation until February 24, 2009.

        RESPONSE:



        8.      Stanley Access Technologies, LLC has had no involvement with the doors since

February 24, 2009.

        RESPONSE:




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                                                     /s/ William B. Jakes, III
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been placed in the United
States mail, postage prepaid to:

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this the 1st day of July, 2016.


                                             /s/ William B. Jakes, III
                                             WILLIAM B. JAKES, III




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